Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 1 of 152 PageID #:52




                       EXHIBIT 1
Firefox                                                                          https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 2 of 152 PageID #:53

          Type of Work:       Computer File

          Registration Number / Date:
                             PA0000602981 / 1992-11-12

          Title:              Sonic the hedgehog 2.

          Description:        Videogame.

          Copyright Claimant:
                              Sega Enterprises, Ltd.

          Date of Creation:   1992

          Date of Publication:
                             1992-11-24

          Previous Registration:
                             Sonic the hedgehog preexisting.

          Basis of Claim:     New Matter: new and additional audiovisual material,
                                 computer programming text.

          Copyright Note:     C.O. correspondence.

          Other Title:        Sonic the hedgehog

          Names:              Sega Enterprises, Ltd.

          ================================================================================




1 of 1                                                                                                    4/14/2023, 10:07 AM
Firefox                                                                         https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 3 of 152 PageID #:54

          Type of Work:       Computer File

          Registration Number / Date:
                             TXu000593150 / 1993-11-03

          Title:              Sonic spinball.

          Description:        Printout.

          Notes:              Computer program.

          Copyright Claimant:
                              Sega of America, Inc.

          Date of Creation:   1993

          Names:              Sega of America, Inc.

          ================================================================================




1 of 1                                                                                                   4/14/2023, 10:09 AM
Firefox                                                                         https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 4 of 152 PageID #:55

          Type of Work:       Computer File

          Registration Number / Date:
                             PA0000659929 / 1994-03-07

          Title:              Sonic the hedgehog.

          Description:        Videogame.

          Copyright Claimant:
                              Sega Enterprises, Ltd.

          Date of Creation:   1991

          Date of Publication:
                             1991-04-28

          Copyright Note:     C.O. correspondence.

          Names:              Sega Enterprises, Ltd.

          ================================================================================




1 of 1                                                                                                   4/14/2023, 10:09 AM
Firefox                                                                          https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 5 of 152 PageID #:56

          Type of Work:       Computer File

          Registration Number / Date:
                             PA0000659981 / 1994-06-22

          Application Title: Sonic 3.

          Title:              Sonic the hedgehog 3.

          Description:        Videogame.

          Copyright Claimant:
                              Sega Enterprises, Ltd. and Sega of America, Inc.

          Date of Creation:   1994

          Date of Publication:
                             1994-02-02

          Names:              Sega Enterprises, Ltd.
                              Sega of America, Inc.

          ================================================================================




1 of 1                                                                                                    4/14/2023, 10:10 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 6 of 152 PageID #:57

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000791242 / 1996-02-07

          Title:              The adventures of Sonic the Hedgehog : no. 238-119, Mystery
                                 of the missing hi-tops.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-11-04

          Authorship on Application:
                             DIC Productions, LP, Sega of America, Inc., & Bohbot
                                Communications, Inc., employers for hire.

          Previous Registration:
                             Prev. pub. material: Sonic the Hedgehog video and computer
                                 games, including underlying characters.

          Basis of Claim:     New Matter: all other cinematographic elements.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-119

          Other Title:        Mystery of the missing hi-tops

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 10:12 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 7 of 152 PageID #:58

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000791233 / 1996-02-07

          Title:              The adventures of Sonic the Hedgehog : no. 238-120, Goodbye
                                 sucker.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-09-29

          Authorship on Application:
                             DIC Productions, LP, Sega of America, Inc., & Bohbot
                                Communications, Inc., employers for hire.

          Previous Registration:
                             Prev. pub. material: Sonic the Hedgehog video and computer
                                 games, including underlying characters.

          Basis of Claim:     New Matter: all other cinematographic elements.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-120

          Other Title:        Goodbye sucker

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 10:13 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 8 of 152 PageID #:59

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000791232 / 1996-02-07

          Title:              The adventures of Sonic the Hedgehog : no. 238-121, Sonic
                                 getstrashed.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-10-19

          Authorship on Application:
                             DIC Productions, LP, Sega of America, Inc., & Bohbot
                                Communications, Inc., employers for hire.

          Previous Registration:
                             Prev. pub. material: Sonic the Hedgehog video and computer
                                 games, including underlying characters.

          Basis of Claim:     New Matter: all other cinematographic elements.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-121

          Other Title:        Sonic getstrashed

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 10:16 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 9 of 152 PageID #:60

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000791231 / 1996-02-07

          Title:              The adventures of Sonic the Hedgehog : no. 238-122, Pseudo
                                 Sonic.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-09-10

          Authorship on Application:
                             DIC Productions, LP, Sega of America, Inc., & Bohbot
                                Communications, Inc., employers for hire.

          Previous Registration:
                             Prev. pub. material: Sonic the Hedgehog video and computer
                                 games, including underlying characters.

          Basis of Claim:     New Matter: all other cinematographic elements.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-122

          Other Title:        Pseudo Sonic

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 10:19 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 10 of 152 PageID #:61

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000777969 / 1996-02-07

          Title:              The adventures of Sonic, the hedgehog : no. 238-123.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animation.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-09-17

          Previous Registration:
                             Video, computer games, characters preexisting.

          Basis of Claim:     New Matter: all cinematographic material.

          Variant title:      The adventures of Sonic, the hedgehog : no. 238-123

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:19 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 11 of 152 PageID #:62

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000791230 / 1996-02-07

          Title:              The adventures of Sonic the Hedgehog : no. 238-124, Tails
                                 in charge.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-10-11

          Authorship on Application:
                             DIC Productions, LP, Sega of America, Inc., & Bohbot
                                Communications, Inc., employers for hire.

          Previous Registration:
                             Prev. pub. material: Sonic the Hedgehog video and computer
                                 games, including underlying characters.

          Basis of Claim:     New Matter: all other cinematographic elements.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-124

          Other Title:        Tails in charge

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 10:21 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 12 of 152 PageID #:63

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000791229 / 1996-02-07

          Title:              The adventures of Sonic the Hedgehog : no. 238-125, Sno
                                 problem.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-11-22

          Authorship on Application:
                             DIC Productions, LP, Sega of America, Inc., & Bohbot
                                Communications, Inc., employers for hire.

          Previous Registration:
                             Prev. pub. material: Sonic the Hedgehog video and computer
                                 games, including underlying characters.

          Basis of Claim:     New Matter: all other cinematographic elements.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-125

          Other Title:        Sno problem

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 10:22 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 13 of 152 PageID #:64

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000777963 / 1996-02-07

          Title:              The adventures of Sonic, the hedgehog : no. 238-126.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animation.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-09-09

          Previous Registration:
                             Video, computer games, characters preexisting.

          Basis of Claim:     New Matter: all cinematographic material.

          Variant title:      The adventures of Sonic, the hedgehog : no. 238-126

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:22 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 14 of 152 PageID #:65

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000791228 / 1996-02-07

          Title:              The adventures of Sonic the Hedgehog : no. 238-127, Dream
                                 on.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-09-22

          Authorship on Application:
                             DIC Productions, LP, Sega of America, Inc., & Bohbot
                                Communications, Inc., employers for hire.

          Previous Registration:
                             Prev. pub. material: Sonic the Hedgehog video and computer
                                 games, including underlying characters.

          Basis of Claim:     New Matter: all other cinematographic elements.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-127

          Other Title:        Dream on

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 10:23 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 15 of 152 PageID #:66

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000791234 / 1996-02-07

          Title:              The adventures of Sonic the Hedgehog : no. 238-128, Musta
                                 ... beautiful baby.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-10-12

          Authorship on Application:
                             DIC Productions, LP, Sega of America, Inc., & Bohbot
                                Communications, Inc., employers for hire.

          Previous Registration:
                             Prev. pub. material: Sonic the Hedgehog video and computer
                                 games, including underlying characters.

          Basis of Claim:     New Matter: all other cinematographic elements.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-128

          Other Title:        Musta ... beautiful baby
                              Musta [been a] beautiful baby

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 10:23 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 16 of 152 PageID #:67

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000772425 / 1996-02-07

          Title:              The adventures of Sonic, the hedgehog : no. 238-129.

          Description:        Videocassette ; 3/4 in.

          Copyright Claimant:
                              Dic Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-10-22

          Previous Registration:
                             Video & computer games prev. pub.; characters preexisting.

          Basis of Claim:     New Matter: all other cinematographic elements.

          Variant title:      The adventures of Sonic, the hedgehog : no. 238-129

          Names:              Dic Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:24 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 17 of 152 PageID #:68

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000791243 / 1996-02-07

          Title:              The adventures of Sonic the Hedgehog : no. 238-130, Full
                                 tilt tails.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-11-12

          Authorship on Application:
                             DIC Productions, LP, Sega of America, Inc., & Bohbot
                                Communications, Inc., employers for hire.

          Previous Registration:
                             Prev. pub. material: Sonic the Hedgehog video and computer
                                 games, including underlying characters.

          Basis of Claim:     New Matter: all other cinematographic elements.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-130

          Other Title:        Full tilt tails

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 10:24 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 18 of 152 PageID #:69

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000791244 / 1996-02-07

          Title:              The adventures of Sonic the Hedgehog : no. 238-131,
                                 MacHopper.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-11-10

          Authorship on Application:
                             DIC Productions, LP, Sega of America, Inc., & Bohbot
                                Communications, Inc., employers for hire.

          Previous Registration:
                             Prev. pub. material: Sonic the Hedgehog video and computer
                                 games, including underlying characters.

          Basis of Claim:     New Matter: all other cinematographic elements.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-131

          Other Title:        MacHopper

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:25 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 19 of 152 PageID #:70

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000772426 / 1996-02-07

          Title:              The adventures of Sonic the Hedgehog : no. 238-132.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., & Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-10-04

          Basis of Claim:     New Matter: all cinematographic elements excluding the
                                 underlying characters from prev. pub. video & computer
                                 games.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-132

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:25 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 20 of 152 PageID #:71

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000777964 / 1996-02-07

          Title:              The adventures of Sonic, the hedgehog : no. 238-133.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animation.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-11-09

          Previous Registration:
                             Video, computer games, characters preexisting.

          Basis of Claim:     New Matter: all cinematographic material.

          Variant title:      The adventures of Sonic, the hedgehog : no. 238-133

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:26 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 21 of 152 PageID #:72

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000772423 / 1996-02-07

          Title:              The adventures of Sonic, the hedgehog : no. 238-134.

          Description:        Videocassette ; 3/4 in.

          Copyright Claimant:
                              Dic Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-11-24

          Previous Registration:
                             Video & computer games prev. pub.; characters preexisting.

          Basis of Claim:     New Matter: all other cinematographic elements.

          Variant title:      The adventures of Sonic, the hedgehog : no. 238-134

          Names:              Dic Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:26 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 22 of 152 PageID #:73

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000772427 / 1996-02-07

          Title:              The adventures of Sonic the Hedgehog : no. 238-135.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., & Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-10-15

          Basis of Claim:     New Matter: all cinematographic elements excluding the
                                 underlying characters from prev. pub. video & computer
                                 games.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-135

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:27 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 23 of 152 PageID #:74

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000791227 / 1996-02-07

          Title:              The adventures of Sonic the Hedgehog : no. 238-136,
                                 Robotnik's rival.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-09-30

          Authorship on Application:
                             DIC Productions, LP, Sega of America, Inc., & Bohbot
                                Communications, Inc., employers for hire.

          Previous Registration:
                             Prev. pub. material: Sonic the Hedgehog video and computer
                                 games, including underlying characters.

          Basis of Claim:     New Matter: all other cinematographic elements.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-136

          Other Title:        Robotnik's rival

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:27 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 24 of 152 PageID #:75

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000783698 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-101.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-10-06

          Basis of Claim:     New Matter: all cinematographic material except underlying
                                 characters from prev. pub. video and computer games.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-101.

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:28 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 25 of 152 PageID #:76

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000783697 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-102.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-09-16

          Basis of Claim:     New Matter: all cinematographic material except underlying
                                 characters from prev. pub. video and computer games.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-102.

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:28 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 26 of 152 PageID #:77

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000783696 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-103.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-09-15

          Basis of Claim:     New Matter: all cinematographic material except underlying
                                 characters from prev. pub. video and computer games.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-103.

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:29 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 27 of 152 PageID #:78

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000783767 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-104, Sloww
                                 going.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.
                              Based on Sonic the Hedgehog video and computer games.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., & Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-09-28

          Basis of Claim:     New Matter: all cinematographic material excluding
                                 characters from the video and computer games.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-104

          Other Title:        Sloww going.
                              Sonic the Hedgehog

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 10:30 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 28 of 152 PageID #:79

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000783769 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-105, High
                                 stakes Sonic.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.
                              Based on Sonic the Hedgehog video and computer games.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., & Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-09-20

          Basis of Claim:     New Matter: all cinematographic material excluding
                                 characters from the video and computer games.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-105

          Other Title:        High stakes Sonic.
                              Sonic the Hedgehog

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 10:30 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 29 of 152 PageID #:80

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000783766 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-106, Sonic
                                 breakout.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.
                              Based on Sonic the Hedgehog video and computer games.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., & Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-11-02

          Basis of Claim:     New Matter: all cinematographic material excluding
                                 characters from the video and computer games.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-106

          Other Title:        Sonic breakout.
                              Sonic the Hedgehog

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 10:31 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 30 of 152 PageID #:81

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000783765 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-107, Trail
                                 of the missing tails.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.
                              Based on Sonic the Hedgehog video and computer games.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., & Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-10-01

          Basis of Claim:     New Matter: all cinematographic material excluding
                                 characters from the video and computer games.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-107

          Other Title:        Trail of the missing tails.
                              Sonic the Hedgehog

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 10:32 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 31 of 152 PageID #:82

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000783740 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-108.

          Description:        Videocassette ; 3/4 in.

          Copyright Claimant:
                              DIC Productions, Inc., Sega of America, Inc., & Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-10-20

          Basis of Claim:     New Matter: all cinematographic material except underlying
                                 characters from prev. pub. computer and video games.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-108.

          Names:              DIC Productions, Inc.
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:33 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 32 of 152 PageID #:83

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000783739 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-109.

          Description:        Videocassette ; 3/4 in.

          Copyright Claimant:
                              DIC Productions, Inc., Sega of America, Inc., & Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-09-27

          Basis of Claim:     New Matter: all cinematographic material except underlying
                                 characters from prev. pub. computer and video games.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-109.

          Names:              DIC Productions, Inc.
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:33 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 33 of 152 PageID #:84

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000783760 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-110, King
                                 Coconuts.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.
                              Based on Sonic the Hedgehog video and computer games.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., & Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-09-23

          Basis of Claim:     New Matter: all cinematographic material excluding
                                 characters from the video and computer games.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-110

          Other Title:        King Coconuts.
                              Sonic the Hedgehog

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 10:34 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 34 of 152 PageID #:85

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000791347 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-111.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.
                              Based on Sonic the Hedgehog video and computer games.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., & Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-11-19

          Basis of Claim:     New Matter: all cinematographic material excluding
                                 characters from the video and computer games.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-111

          Other Title:        Sonic the Hedgehog

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:35 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 35 of 152 PageID #:86

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000791349 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-112.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.
                              Based on Sonic the Hedgehog video and computer games.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., & Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-09-08

          Basis of Claim:     New Matter: all cinematographic material excluding
                                 characters from the video and computer games.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-112

          Other Title:        Sonic the Hedgehog

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:35 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 36 of 152 PageID #:87

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000791345 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-113.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.
                              Based on Sonic the Hedgehog video and computer games.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., & Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-09-06

          Basis of Claim:     New Matter: all cinematographic material excluding
                                 characters from the video and computer games.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-113

          Other Title:        Sonic the Hedgehog

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:37 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 37 of 152 PageID #:88

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000791344 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-114.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.
                              Based on Sonic the Hedgehog video and computer games.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., & Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-09-24

          Basis of Claim:     New Matter: all cinematographic material excluding
                                 characters from the video and computer games.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-114

          Other Title:        Sonic the Hedgehog

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:38 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 38 of 152 PageID #:89

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000791340 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-115.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.
                              Based on Sonic the Hedgehog video and computer games.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., & Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-10-05

          Basis of Claim:     New Matter: all cinematographic material excluding
                                 characters from the video and computer games.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-115

          Other Title:        Sonic the Hedgehog

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:38 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 39 of 152 PageID #:90

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000791339 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-116.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.
                              Based on Sonic the Hedgehog video and computer games.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., & Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-09-07

          Basis of Claim:     New Matter: all cinematographic material excluding
                                 characters from the video and computer games.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-116

          Other Title:        Sonic the Hedgehog

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:39 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 40 of 152 PageID #:91

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000791341 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-117.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.
                              Based on Sonic the Hedgehog video and computer games.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., & Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-09-13

          Basis of Claim:     New Matter: all cinematographic material excluding
                                 characters from the video and computer games.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-117

          Other Title:        Sonic the Hedgehog

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:39 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 41 of 152 PageID #:92

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000791342 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-118.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.
                              Based on Sonic the Hedgehog video and computer games.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., & Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-09-21

          Basis of Claim:     New Matter: all cinematographic material excluding
                                 characters from the video and computer games.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-118

          Other Title:        Sonic the Hedgehog

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:40 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 42 of 152 PageID #:93

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000777971 / 1996-02-08

          Title:              The adventures of Sonic, the hedgehog : no. 238-137.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animation.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-10-25

          Previous Registration:
                             Video, computer games, characters preexisting.

          Basis of Claim:     New Matter: all cinematographic material.

          Variant title:      The adventures of Sonic, the hedgehog : no. 238-137

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:40 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 43 of 152 PageID #:94

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000777973 / 1996-02-08

          Title:              The adventures of Sonic, the hedgehog : no. 238-138.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animation.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-10-13

          Previous Registration:
                             Video, computer games, characters preexisting.

          Basis of Claim:     New Matter: all cinematographic material.

          Variant title:      The adventures of Sonic, the hedgehog : no. 238-138

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:41 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 44 of 152 PageID #:95

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000777970 / 1996-02-08

          Title:              The adventures of Sonic, the hedgehog : no. 238-139.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animation.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-10-21

          Previous Registration:
                             Video, computer games, characters preexisting.

          Basis of Claim:     New Matter: all cinematographic material.

          Variant title:      The adventures of Sonic, the hedgehog : no. 238-139

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:42 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 45 of 152 PageID #:96

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000778054 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-140.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-10-08

          Previous Registration:
                             Video & computer games prev. pub.

          Basis of Claim:     New Matter: all other cinematographic elements.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-140

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:43 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 46 of 152 PageID #:97

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000778058 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-141.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-10-14

          Previous Registration:
                             Video & computer games prev. pub.

          Basis of Claim:     New Matter: all other cinematographic elements.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-141

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:44 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 47 of 152 PageID #:98

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000778060 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-142.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-11-08

          Previous Registration:
                             Video & computer games prev. pub.

          Basis of Claim:     New Matter: all other cinematographic elements.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-142

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:44 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 48 of 152 PageID #:99

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000778056 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-143.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-10-18

          Previous Registration:
                             Video & computer games prev. pub.

          Basis of Claim:     New Matter: all other cinematographic elements.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-143

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:45 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 49 of 152 PageID #:100

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000777968 / 1996-02-08

          Title:              The adventures of Sonic, the hedgehog : no. 238-144.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animation.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-11-01

          Previous Registration:
                             Video, computer games, characters preexisting.

          Basis of Claim:     New Matter: all cinematographic material.

          Variant title:      The adventures of Sonic, the hedgehog : no. 238-144

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:45 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 50 of 152 PageID #:101

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000777967 / 1996-02-08

          Title:              The adventures of Sonic, the hedgehog : no. 238-145.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animation.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-11-05

          Previous Registration:
                             Video, computer games, characters preexisting.

          Basis of Claim:     New Matter: all cinematographic material.

          Variant title:      The adventures of Sonic, the hedgehog : no. 238-145

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:46 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 51 of 152 PageID #:102

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000778055 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-146.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-09-14

          Previous Registration:
                             Video & computer games prev. pub.

          Basis of Claim:     New Matter: all other cinematographic elements.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-146

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:46 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 52 of 152 PageID #:103

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000778061 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-147.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-10-07

          Previous Registration:
                             Video & computer games prev. pub.

          Basis of Claim:     New Matter: all other cinematographic elements.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-147

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:47 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 53 of 152 PageID #:104

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000777966 / 1996-02-08

          Title:              The adventures of Sonic, the hedgehog : no. 238-148.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animation.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-10-26

          Previous Registration:
                             Video, computer games, characters preexisting.

          Basis of Claim:     New Matter: all cinematographic material.

          Variant title:      The adventures of Sonic, the hedgehog : no. 238-148

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:47 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 54 of 152 PageID #:105

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000777965 / 1996-02-08

          Title:              The adventures of Sonic, the hedgehog : no. 238-149.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animation.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-10-27

          Previous Registration:
                             Video, computer games, characters preexisting.

          Basis of Claim:     New Matter: all cinematographic material.

          Variant title:      The adventures of Sonic, the hedgehog : no. 238-149

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:48 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 55 of 152 PageID #:106

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000778053 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-150.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-10-28

          Previous Registration:
                             Video & computer games prev. pub.

          Basis of Claim:     New Matter: all other cinematographic elements.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-150

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:48 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 56 of 152 PageID #:107

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000777972 / 1996-02-08

          Title:              The adventures of Sonic, the hedgehog : no. 238-151.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animation.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-10-29

          Previous Registration:
                             Video, computer games, characters preexisting.

          Basis of Claim:     New Matter: all cinematographic material.

          Variant title:      The adventures of Sonic, the hedgehog : no. 238-151

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:48 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 57 of 152 PageID #:108

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000778062 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-152.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-11-11

          Previous Registration:
                             Video & computer games prev. pub.

          Basis of Claim:     New Matter: all other cinematographic elements.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-152

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:49 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 58 of 152 PageID #:109

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000778059 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-153.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-11-18

          Previous Registration:
                             Video & computer games prev. pub.

          Basis of Claim:     New Matter: all other cinematographic elements.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-153

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:50 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 59 of 152 PageID #:110

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000778057 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-154.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-11-25

          Previous Registration:
                             Video & computer games prev. pub.

          Basis of Claim:     New Matter: all other cinematographic elements.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-154

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:51 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 60 of 152 PageID #:111

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000783699 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-155.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-11-17

          Basis of Claim:     New Matter: all cinematographic material except underlying
                                 characters from prev. pub. video and computer games.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-155.

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:52 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 61 of 152 PageID #:112

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000783700 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-156.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-11-26

          Basis of Claim:     New Matter: all cinematographic material except underlying
                                 characters from prev. pub. video and computer games.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-156.

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:52 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 62 of 152 PageID #:113

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000783706 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-157.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-11-16

          Basis of Claim:     New Matter: all cinematographic material except underlying
                                 characters from prev. pub. video and computer games.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-157.

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:52 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 63 of 152 PageID #:114

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000783702 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-158.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-12-02

          Basis of Claim:     New Matter: all cinematographic material except underlying
                                 characters from prev. pub. video and computer games.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-158.

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:53 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 64 of 152 PageID #:115

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000783701 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-159.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-12-01

          Basis of Claim:     New Matter: all cinematographic material except underlying
                                 characters from prev. pub. video and computer games.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-159.

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:53 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 65 of 152 PageID #:116

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000783705 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-160.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-12-03

          Basis of Claim:     New Matter: all cinematographic material except underlying
                                 characters from prev. pub. video and computer games.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-160.

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:54 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 66 of 152 PageID #:117

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000783761 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-161, 48 hour
                                 sonic : a.k.a. Fat & easy.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.
                              Based on Sonic the Hedgehog video and computer games.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., & Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-11-30

          Basis of Claim:     New Matter: all cinematographic material excluding
                                 characters from the video and computer games.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-161

          Other Title:        48 hour sonic
                              Fat & easy
                              Sonic the Hedgehog

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 10:55 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 67 of 152 PageID #:118

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000783764 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-162,
                                 Lifestyles of the sick and twisted.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.
                              Based on Sonic the Hedgehog video and computer games.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., & Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-11-15

          Basis of Claim:     New Matter: all cinematographic material excluding
                                 characters from the video and computer games.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-162

          Other Title:        Lifestyles of the sick and twisted.
                              Sonic the Hedgehog

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:55 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 68 of 152 PageID #:119

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000783763 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-163, Sonic
                                 is running.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.
                              Based on Sonic the Hedgehog video and computer games.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., & Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-11-23

          Basis of Claim:     New Matter: all cinematographic material excluding
                                 characters from the video and computer games.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-163

          Other Title:        Sonic is running.
                              Sonic the Hedgehog

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 10:56 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 69 of 152 PageID #:120

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000783762 / 1996-02-08

          Title:              The adventures of Sonic the Hedgehog : no. 238-164,
                                 Roboninjas.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.
                              Based on Sonic the Hedgehog video and computer games.

          Copyright Claimant:
                              DIC Productions, LP, Sega of America, Inc., & Bohbot
                                 Communications, Inc.

          Date of Creation:   1993

          Date of Publication:
                             1993-11-29

          Basis of Claim:     New Matter: all cinematographic material excluding
                                 characters from the video and computer games.

          Variant title:      The adventures of Sonic the Hedgehog : no. 238-164

          Other Title:        Roboninjas.
                              Sonic the Hedgehog

          Names:              DIC Productions, LP
                              Sega of America, Inc.
                              Bohbot Communications, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:56 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 70 of 152 PageID #:121

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0000791361 / 1996-02-08

          Title:              The adventures of Sonic, the hedgehog : no. 238-165.

          Description:        Videocassette ; 3/4 in.

          Notes:              Animated.
                              Episode ti.: Sonically ever after.

          Copyright Claimant:
                              DIC Productions, LP, Bohbot Communications, Inc., Sega of
                                 America, Inc. (employers for hire)

          Date of Creation:   1993

          Date of Publication:
                             1993-11-03

          Previous Registration:
                             Characters in videogames & computer games prev. pub.

          Basis of Claim:     New Matter: remaining materials.

          Variant title:      The adventures of Sonic, the hedgehog : no. 238-165

          Other Title:        Sonically ever after.

          Names:              DIC Productions, LP
                              Bohbot Communications, Inc.
                              Sega of America, Inc.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 10:57 AM
Firefox                                                                         https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 71 of 152 PageID #:122

          Type of Work:       Computer File

          Registration Number / Date:
                             PAu003353780 / 2008-08-20

          Application Title: Sonic Unleashed Video Excerpts and Screenshots.

          Title:              Sonic Unleashed Video Excerpts and Screenshots.

          Description:        Videogame.

          Notes:              Videodisc (DVD) and screenshots deposited.

          Copyright Claimant:
                              SEGA of America, Inc..

          Date of Creation:   2008

          Authorship on Application:
                             SEGA of America, Inc., employer for hire; Domicile: United
                                States. Authorship: audiovisual material and
                                screenshots.

          Pre-existing Material:
                             Based on preexisting character artwork.

          Basis of Claim:     All other audiovisual material and screenshots.

          Names:              SEGA of America, Inc.

          ================================================================================




1 of 1                                                                                                   4/14/2023, 10:57 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 72 of 152 PageID #:123

          Type of Work:      Serial

          Registration Number / Date:
                             TX0007563319 / 2012-07-13

          Application Title: SONIC SUPER SPECIAL

          Title:             SONIC SUPER SPECIAL.   [Published: 1997-04-29.   Issue: no.
                                1, 4/29/1997]

          Serial Publication Year:
                             1997

          Frequency:         Monthly.

          Copyright Claimant:
                             SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc., employer for hire;
                                Domicile: United States; Citizenship: United States.
                                Authorship: contribution(s) to a collective work.

          Issues Registered: no. 1, 4/29/1997. Created 1997; Pub. 1997-04-29. Reg.
                                2012-07-13; TX0007563319

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:             Archie Comic Publications, Inc.
                             SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 10:58 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 73 of 152 PageID #:124

          Type of Work:      Serial

          Registration Number / Date:
                             TX0007563317 / 2012-07-13

          Application Title: SONIC SUPER SPECIAL

          Title:             SONIC SUPER SPECIAL.   [Published: 1997-08-19.   Issue: no.
                                2, 8/19/1997]

          Serial Publication Year:
                             1997

          Frequency:         Monthly.

          Copyright Claimant:
                             SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc., employer for hire;
                                Domicile: United States; Citizenship: United States.
                                Authorship: contribution(s) to a collective work.

          Issues Registered: no. 2, 8/19/1997. Created 1997; Pub. 1997-08-19. Reg.
                                2012-07-13; TX0007563317

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:             Archie Comic Publications, Inc.
                             SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 10:58 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 74 of 152 PageID #:125

          Type of Work:      Serial

          Registration Number / Date:
                             TX0007563313 / 2012-07-13

          Application Title: SONIC SUPER SPECIAL

          Title:             SONIC SUPER SPECIAL.   [Published: 1997-10-21.   Issue: no.
                                3, 10/21/1997]

          Serial Publication Year:
                             1997

          Frequency:         Monthly.

          Copyright Claimant:
                             SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc., employer for hire;
                                Domicile: United States; Citizenship: United States.
                                Authorship: contribution(s) to a collective work.

          Issues Registered: no. 3, 10/21/1997. Created 1997; Pub. 1997-10-21. Reg.
                                2012-07-13; TX0007563313

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:             Archie Comic Publications, Inc.
                             SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 10:59 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 75 of 152 PageID #:126

          Type of Work:      Serial

          Registration Number / Date:
                             TX0007563302 / 2012-07-13

          Application Title: SONIC SUPER SPECIAL

          Title:             SONIC SUPER SPECIAL.   [Published: 1997-12-30.   Issue: no.
                                4, 1998]

          Serial Publication Year:
                             1997

          Frequency:         Monthly.

          Copyright Claimant:
                             SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc., employer for hire;
                                Domicile: United States; Citizenship: United States.
                                Authorship: contribution(s) to a collective work.

          Issues Registered: no. 4, 1998. Created 1997; Pub. 1997-12-30. Regarding title
                                information: "Date on copies" amended by C.O. based on
                                copy. Reg. 2012-07-13; TX0007563302

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Copyright Note:    Regarding title information: "Date on copies" amended by
                                C.O. based on copy.

          Names:             Archie Comic Publications, Inc.
                             SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:00 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 76 of 152 PageID #:127

          Type of Work:      Serial

          Registration Number / Date:
                             TX0007563180 / 2012-07-13

          Application Title: SONIC SUPER SPECIAL

          Title:             SONIC SUPER SPECIAL.   [Published: 1998-03-17.   Issue: no.
                                5, 3/17/1998]

          Serial Publication Year:
                             1998

          Frequency:         Monthly.

          Copyright Claimant:
                             SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc., employer for hire;
                                Domicile: United States; Citizenship: United States.
                                Authorship: contribution(s) to a collective work.

          Issues Registered: no. 5, 3/17/1998. Created 1998; Pub. 1998-03-17. Reg.
                                2012-07-13; TX0007563180

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:             Archie Comic Publications, Inc.
                             SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:00 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 77 of 152 PageID #:128

          Type of Work:      Serial

          Registration Number / Date:
                             TX0007563178 / 2012-07-13

          Application Title: SONIC SUPER SPECIAL

          Title:             SONIC SUPER SPECIAL.   [Published: 1998-06-16.   Issue: no.
                                6, 6/16/1998]

          Serial Publication Year:
                             1998

          Frequency:         Monthly.

          Copyright Claimant:
                             SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc., employer for hire;
                                Domicile: United States; Citizenship: United States.
                                Authorship: contribution(s) to a collective work.

          Issues Registered: no. 6, 6/16/1998. Created 1998; Pub. 1998-06-16. Reg.
                                2012-07-13; TX0007563178

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:             Archie Comic Publications, Inc.
                             SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:01 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 78 of 152 PageID #:129

          Type of Work:      Serial

          Registration Number / Date:
                             TX0007563175 / 2012-07-13

          Application Title: SONIC SUPER SPECIAL

          Title:             SONIC SUPER SPECIAL.   [Published: 1998-09-29.   Issue: no.
                                7, 9/29/1998]

          Serial Publication Year:
                             1998

          Frequency:         Monthly.

          Copyright Claimant:
                             SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc., employer for hire;
                                Domicile: United States; Citizenship: United States.
                                Authorship: contribution(s) to a collective work.

          Issues Registered: no. 7, 9/29/1998. Created 1998; Pub. 1998-09-29. Reg.
                                2012-07-13; TX0007563175

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:             Archie Comic Publications, Inc.
                             SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:01 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 79 of 152 PageID #:130

          Type of Work:      Serial

          Registration Number / Date:
                             TX0007562833 / 2012-07-13

          Application Title: SONIC SUPER SPECIAL

          Title:             SONIC SUPER SPECIAL.   [Published: 1999-03-16.   Issue: no.
                                9, 3-16-99]

          Serial Publication Year:
                             1999

          Frequency:         Monthly.

          Copyright Claimant:
                             SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc., employer for hire;
                                Domicile: United States; Citizenship: United States.
                                Authorship: contribution(s) to a collective work.

          Issues Registered: no. 9, 3-16-99. Created 1999; Pub. 1999-03-16. Reg.
                                2012-07-13; TX0007562833

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:             Archie Comic Publications, Inc.
                             SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 11:02 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 80 of 152 PageID #:131

          Type of Work:      Serial

          Registration Number / Date:
                             TX0007562829 / 2012-07-13

          Application Title: SONIC SUPER SPECIAL

          Title:             SONIC SUPER SPECIAL.   [Published: 1999-06-15.   Issue: no.
                                10, 6/15/1999]

          Serial Publication Year:
                             1999

          Frequency:         Monthly.

          Copyright Claimant:
                             SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc., employer for hire;
                                Domicile: United States; Citizenship: United States.
                                Authorship: contribution(s) to a collective work.

          Issues Registered: no. 10, 6/15/1999. Created 1999; Pub. 1999-06-15. Reg.
                                2012-07-13; TX0007562829

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:             Archie Comic Publications, Inc.
                             SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:02 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 81 of 152 PageID #:132

          Type of Work:      Serial

          Registration Number / Date:
                             TX0007562822 / 2012-07-13

          Application Title: SONIC SUPER SPECIAL

          Title:             SONIC SUPER SPECIAL.   [Published: 1999-09-21.   Issue: no.
                                11, 9/21/1999]

          Serial Publication Year:
                             1999

          Frequency:         Monthly.

          Copyright Claimant:
                             SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc., employer for hire;
                                Domicile: United States; Citizenship: United States.
                                Authorship: contribution(s) to a collective work.

          Issues Registered: no. 11, 9/21/1999. Created 1999; Pub. 1999-09-21. Reg.
                                2012-07-13; TX0007562822

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:             Archie Comic Publications, Inc.
                             SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:02 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 82 of 152 PageID #:133

          Type of Work:      Serial

          Registration Number / Date:
                             TX0007562838 / 2012-07-13

          Application Title: SONIC SUPER SPECIAL

          Title:             SONIC SUPER SPECIAL.   [Published: 1999-12-29.   Issue: no.
                                8, 12/29/1999]

          Serial Publication Year:
                             1999

          Frequency:         Monthly.

          Copyright Claimant:
                             SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc., employer for hire;
                                Domicile: United States; Citizenship: United States.
                                Authorship: contribution(s) to a collective work.

          Issues Registered: no. 8, 12/29/1999. Created 1999; Pub. 1999-12-29. Reg.
                                2012-07-13; TX0007562838

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:             Archie Comic Publications, Inc.
                             SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:03 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 83 of 152 PageID #:134

          Type of Work:      Serial

          Registration Number / Date:
                             TX0007562818 / 2012-07-13

          Application Title: SONIC SUPER SPECIAL

          Title:             SONIC SUPER SPECIAL.   [Published: 2000-01-04.   Issue: no.
                                12, 1/4/00]

          Serial Publication Year:
                             2000

          Frequency:         Monthly.

          Copyright Claimant:
                             SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc., employer for hire;
                                Domicile: United States; Citizenship: United States.
                                Authorship: contribution(s) to a collective work.

          Issues Registered: no. 12, 1/4/00. Created 2000; Pub. 2000-01-04. Reg.
                                2012-07-13; TX0007562818

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:             Archie Comic Publications, Inc.
                             SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 11:03 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 84 of 152 PageID #:135

          Type of Work:      Serial

          Registration Number / Date:
                             TX0007562815 / 2012-07-13

          Application Title: SONIC SUPER SPECIAL

          Title:             SONIC SUPER SPECIAL.   [Published: 2000-01-04.   Issue: no.
                                13, 01/04/2000]

          Serial Publication Year:
                             2000

          Frequency:         Monthly.

          Copyright Claimant:
                             SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc., employer for hire;
                                Domicile: United States; Citizenship: United States.
                                Authorship: contribution(s) to a collective work.

          Issues Registered: no. 13, 01/04/2000. Created 2000; Pub. 2000-01-04. Reg.
                                2012-07-13; TX0007562815

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:             Archie Comic Publications, Inc.
                             SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:04 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 85 of 152 PageID #:136

          Type of Work:      Serial

          Registration Number / Date:
                             TX0007562811 / 2012-07-13

          Application Title: SONIC SUPER SPECIAL

          Title:             SONIC SUPER SPECIAL.   [Published: 2000-06-01.   Issue: no.
                                14, 06/01/2000]

          Serial Publication Year:
                             2000

          Frequency:         Monthly.

          Copyright Claimant:
                             SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc., employer for hire;
                                Domicile: United States; Citizenship: United States.
                                Authorship: contribution(s) to a collective work.

          Issues Registered: no. 14, 06/01/2000. Created 2000; Pub. 2000-06-01. Reg.
                                2012-07-13; TX0007562811

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:             Archie Comic Publications, Inc.
                             SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:05 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 86 of 152 PageID #:137

          Type of Work:      Serial

          Registration Number / Date:
                             TX0007562780 / 2012-07-13

          Application Title: SONIC SUPER SPECIAL

          Title:             SONIC SUPER SPECIAL.   [Published: 2000-11-01.   Issue: no.
                                15, Feb 2001]

          Serial Publication Year:
                             2000

          Frequency:         Monthly.

          Copyright Claimant:
                             SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc., employer for hire;
                                Domicile: United States; Citizenship: United States.
                                Authorship: contribution(s) to a collective work.

          Issues Registered: no. 15, Feb 2001. Created 2000; Pub. 2000-11-01. Regarding
                                title information: Date on copies amended per statement
                                on copies. Reg. 2012-07-13; TX0007562780

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Copyright Note:    Regarding title information: Date on copies amended per
                                statement on copies.

          Names:             Archie Comic Publications, Inc.
                             SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:05 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 87 of 152 PageID #:138

          Type of Work:      Serial

          Registration Number / Date:
                             TX0007604911 / 2012-09-19

          Application Title: SONIC X

          Title:             SONIC X.   [Published: 2005-09-07.   Issue: no. 1, Nov 2005]

          Serial Publication Year:
                             2005

          Frequency:         Monthly.

          Copyright Claimant:
                             SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc., employer for hire;
                                Domicile: United States; Citizenship: United States.
                                Authorship: compilation.

          Issues Registered: no. 1, Nov 2005. Created 2005; Pub. 2005-09-07. Reg.
                                2012-09-19; TX0007604911

          Rights and Permissions:
                             Archie Comic Publications, Inc., 325 Fayette Ave,
                                Mamaroneck, NY, 10543, United States

          Names:             Archie Comic Publications, Inc.
                             SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:06 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 88 of 152 PageID #:139

          Type of Work:      Serial

          Registration Number / Date:
                             TX0007617978 / 2012-09-17

          Application Title: SONIC X

          Title:             SONIC X.   [Published: 2005-10-05.   Issue: no. 2, Dec 2005]

          Serial Publication Year:
                             2005

          Description:       Print material.

          Frequency:         Monthly.

          Copyright Claimant:
                             SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc., employer for hire;
                                Domicile: United States; Citizenship: United States.
                                Authorship: compilation.

          Issues Registered: no. 2, Dec 2005. Created 2005; Pub. 2005-10-05. Reg.
                                2012-09-17; TX0007617978

          Rights and Permissions:
                             Archie Comic Publications, Inc., 325 Fayette Ave,
                                Mamaroneck, NY, 10543, United States

          Names:             Archie Comic Publications, Inc.
                             SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:07 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 89 of 152 PageID #:140

          Type of Work:      Serial

          Registration Number / Date:
                             TX0007605205 / 2012-09-17

          Application Title: SONIC X

          Title:             SONIC X.   [Published: 2005-11-02.   Issue: no. 3, Jan 2006]

          Serial Publication Year:
                             2005

          Frequency:         Monthly.

          Copyright Claimant:
                             SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc., employer for hire;
                                Domicile: United States; Citizenship: United States.
                                Authorship: compilation.

          Issues Registered: no. 3, Jan 2006. Created 2005; Pub. 2005-11-02. Reg.
                                2012-09-17; TX0007605205

          Rights and Permissions:
                             Archie Comic Publications, Inc., 325 Fayette Ave,
                                Mamaroneck, NY, 10543, United States, (914) 381-5155
                                xext211

          Names:             Archie Comic Publications, Inc.
                             SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:07 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 90 of 152 PageID #:141

          Type of Work:      Serial

          Registration Number / Date:
                             TX0007605203 / 2012-09-17

          Application Title: SONIC X

          Title:             SONIC X.   [Published: 2005-11-30.   Issue: no. 4, Feb 2006]

          Serial Publication Year:
                             2005

          Frequency:         Monthly.

          Copyright Claimant:
                             SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc., employer for hire;
                                Domicile: United States; Citizenship: United States.
                                Authorship: compilation.

          Issues Registered: no. 4, Feb 2006. Created 2005; Pub. 2005-11-30. Reg.
                                2012-09-17; TX0007605203

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:             Archie Comic Publications, Inc.
                             SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:08 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 91 of 152 PageID #:142

          Type of Work:      Serial

          Registration Number / Date:
                             TX0007605201 / 2012-09-17

          Application Title: SONIC X

          Title:             SONIC X.   [Published: 2006-01-25.   Issue: no. 5, April
                                2006]

          Serial Publication Year:
                             2006

          Frequency:         Monthly.

          Copyright Claimant:
                             SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc., employer for hire;
                                Domicile: United States; Citizenship: United States.
                                Authorship: compilation.

          Issues Registered: no. 5, April 2006. Created 2006; Pub. 2006-01-25. Reg.
                                2012-09-17; TX0007605201

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:             Archie Comic Publications, Inc.
                             SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:08 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 92 of 152 PageID #:143

          Type of Work:      Serial

          Registration Number / Date:
                             TX0007605184 / 2012-09-17

          Application Title: SONIC X

          Title:             SONIC X.   [Published: 2006-02-22.   Issue: no. 6, May 2006]

          Serial Publication Year:
                             2006

          Frequency:         Monthly.

          Copyright Claimant:
                             SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc., employer for hire;
                                Domicile: United States; Citizenship: United States.
                                Authorship: compilation.

          Issues Registered: no. 6, May 2006. Created 2006; Pub. 2006-02-22. Reg.
                                2012-09-17; TX0007605184

          Rights and Permissions:
                             Deborah Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:             Archie Comic Publications, Inc.
                             SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:08 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 93 of 152 PageID #:144

          Type of Work:      Serial

          Registration Number / Date:
                             TX0007605180 / 2012-09-17

          Application Title: SONIC X

          Title:             SONIC X.   [Published: 2006-03-22.   Issue: no. 7, June 2006]

          Serial Publication Year:
                             2006

          Frequency:         Monthly.

          Copyright Claimant:
                             SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc., employer for hire;
                                Domicile: United States; Citizenship: United States.
                                Authorship: compilation.

          Issues Registered: no. 7, June 2006. Created 2006; Pub. 2006-03-22. Reg.
                                2012-09-17; TX0007605180

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:             Archie Comic Publications, Inc.
                             SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:09 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 94 of 152 PageID #:145

          Type of Work:      Serial

          Registration Number / Date:
                             TX0007605172 / 2012-09-17

          Application Title: SONIC X

          Title:             SONIC X.   [Published: 2006-04-19.   Issue: no. 8, July 2006]

          Serial Publication Year:
                             2006

          Frequency:         Monthly.

          Copyright Claimant:
                             SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc., employer for hire;
                                Domicile: United States; Citizenship: United States.
                                Authorship: compilation.

          Issues Registered: no. 8, July 2006. Created 2006; Pub. 2006-04-19. Reg.
                                2012-09-17; TX0007605172

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:             Archie Comic Publications, Inc.
                             SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:09 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 95 of 152 PageID #:146

          Type of Work:      Serial

          Registration Number / Date:
                             TX0007605168 / 2012-09-17

          Application Title: SONIC X

          Title:             SONIC X.   [Published: 2006-06-28.   Issue: no. 10, Aug 2006]

          Serial Publication Year:
                             2006

          Frequency:         Monthly.

          Copyright Claimant:
                             SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc., employer for hire;
                                Domicile: United States; Citizenship: United States.
                                Authorship: compilation.

          Issues Registered: no. 10, Aug 2006. Created 2006; Pub. 2006-06-28. Reg.
                                2012-09-17; TX0007605168

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:             Archie Comic Publications, Inc.
                             SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:10 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 96 of 152 PageID #:147

          Type of Work:      Serial

          Registration Number / Date:
                             TX0007604931 / 2012-09-17

          Application Title: SONIC X

          Title:             SONIC X.   [Published: 2006-06-28.   Issue: no. 9, July 2006]

          Serial Publication Year:
                             2006

          Frequency:         Monthly.

          Copyright Claimant:
                             SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc., employer for hire;
                                Domicile: United States; Citizenship: United States.
                                Authorship: compilation.

          Issues Registered: no. 9, July 2006. Created 2006; Pub. 2006-06-28. Reg.
                                2012-09-17; TX0007604931

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:             Archie Comic Publications, Inc.
                             SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:10 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 97 of 152 PageID #:148

          Type of Work:      Serial

          Registration Number / Date:
                             TX0007604940 / 2012-09-17

          Application Title: SONIC X

          Title:             SONIC X.   [Published: 2006-07-22.   Issue: no. 12, Nov 2006]

          Serial Publication Year:
                             2006

          Frequency:         Monthly.

          Copyright Claimant:
                             SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc., employer for hire;
                                Domicile: United States; Citizenship: United States.
                                Authorship: compilation.

          Issues Registered: no. 12, Nov 2006. Created 2006; Pub. 2006-07-22. Reg.
                                2012-09-17; TX0007604940

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:             Archie Comic Publications, Inc.
                             SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:11 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 98 of 152 PageID #:149

          Type of Work:      Serial

          Registration Number / Date:
                             TX0007605164 / 2012-09-17

          Application Title: SONIC X

          Title:             SONIC X.   [Published: 2006-07-26.   Issue: no. 11, Sept
                                2006]

          Serial Publication Year:
                             2006

          Frequency:         Monthly.

          Copyright Claimant:
                             SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc., employer for hire;
                                Domicile: United States; Citizenship: United States.
                                Authorship: compilation.

          Issues Registered: no. 11, Sept 2006. Created 2006; Pub. 2006-07-26. Reg.
                                2012-09-17; TX0007605164

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:             Archie Comic Publications, Inc.
                             SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:11 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 99 of 152 PageID #:150

          Type of Work:      Serial

          Registration Number / Date:
                             TX0007605175 / 2012-09-17

          Application Title: SONIC X

          Title:             SONIC X.   [Published: 2006-10-25.   Issue: no. 13, Dec 2006]

          Serial Publication Year:
                             2006

          Frequency:         Monthly.

          Copyright Claimant:
                             SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc., employer for hire;
                                Domicile: United States; Citizenship: United States.
                                Authorship: compilation.

          Issues Registered: no. 13, Dec 2006. Created 2006; Pub. 2006-10-25. Reg.
                                2012-09-17; TX0007605175

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:             Archie Comic Publications, Inc.
                             SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:11 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 100 of 152 PageID #:151

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007604935 / 2012-09-17

          Application Title: SONIC X

          Title:              SONIC X.   [Published: 2006-11-01.   Issue: no. 14, Jan 2006]

          Serial Publication Year:
                             2006

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc., employer for hire;
                                Domicile: United States; Citizenship: United States.
                                Authorship: compilation.

          Issues Registered: no. 14, Jan 2006. Created 2006; Pub. 2006-11-01. Reg.
                                2012-09-17; TX0007604935

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 11:12 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 101 of 152 PageID #:152

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007604933 / 2012-09-17

          Application Title: SONIC X

          Title:              SONIC X.   [Published: 2006-12-13.   Issue: no. 15, Feb 2007]

          Serial Publication Year:
                             2006

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc., employer for hire;
                                Domicile: United States; Citizenship: United States.
                                Authorship: compilation.

          Issues Registered: no. 15, Feb 2007. Created 2006; Pub. 2006-12-13. Reg.
                                2012-09-17; TX0007604933

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 11:12 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 102 of 152 PageID #:153

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007604912 / 2012-09-19

          Application Title: SONIC X

          Title:              SONIC X.   [Published: 2007-02-09.   Issue: no. 16, Mar 2007]

          Serial Publication Year:
                             2007

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 16, Mar 2007. Created 2007; Pub. 2007-02-09. Reg.
                                2012-09-19; TX0007604912

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 11:13 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 103 of 152 PageID #:154

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007605207 / 2012-09-19

          Application Title: SONIC X

          Title:              SONIC X.   [Published: 2007-03-16.   Issue: no. 17, April
                                 2007]

          Serial Publication Year:
                             2007

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 17, April 2007. Created 2007; Pub. 2007-03-16. Reg.
                                2012-09-19; TX0007605207

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 11:13 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 104 of 152 PageID #:155

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007605212 / 2012-09-19

          Application Title: SONIC X

          Title:              SONIC X.   [Published: 2007-04-13.   Issue: no. 18, May 2007]

          Serial Publication Year:
                             2007

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 18, May 2007. Created 2007; Pub. 2007-04-13. Reg.
                                2012-09-19; TX0007605212

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 11:14 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 105 of 152 PageID #:156

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007605218 / 2012-09-19

          Application Title: SONIC X

          Title:              SONIC X.   [Published: 2007-05-03.   Issue: no. 19, June
                                 2007]

          Serial Publication Year:
                             2007

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 19, June 2007. Created 2007; Pub. 2007-05-03. Reg.
                                2012-09-19; TX0007605218

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 11:14 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 106 of 152 PageID #:157

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007617976 / 2012-09-19

          Application Title: SONIC X

          Title:              SONIC X.   [Published: 2007-05-31.   Issue: no. 20, July
                                 2007]

          Serial Publication Year:
                             2007

          Description:        Print material.

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 20, July 2007. Created 2007; Pub. 2007-05-31. Reg.
                                2012-09-19; TX0007617976

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 11:14 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 107 of 152 PageID #:158

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007605216 / 2012-09-19

          Application Title: SONIC X

          Title:              SONIC X.   [Published: 2007-07-02.   Issue: no. 21, Aug 2007]

          Serial Publication Year:
                             2007

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 21, Aug 2007. Created 2007; Pub. 2007-07-02. Reg.
                                2012-09-19; TX0007605216

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 11:15 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 108 of 152 PageID #:159

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007605214 / 2012-09-19

          Application Title: SONIC X

          Title:              SONIC X.   [Published: 2007-07-30.   Issue: no. 22, Sept
                                 2007]

          Serial Publication Year:
                             2007

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 22, Sept 2007. Created 2007; Pub. 2007-07-30. Reg.
                                2012-09-19; TX0007605214

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 11:15 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 109 of 152 PageID #:160

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007605119 / 2012-09-19

          Application Title: SONIC X

          Title:              SONIC X.   [Published: 2007-08-27.   Issue: no. 23, Oct 2007]

          Serial Publication Year:
                             2007

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 23, Oct 2007. Created 2007; Pub. 2007-08-27. Reg.
                                2012-09-19; TX0007605119

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 11:15 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 110 of 152 PageID #:161

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007605116 / 2012-09-19

          Application Title: SONIC X

          Title:              SONIC X.   [Published: 2007-09-24.   Issue: no. 24, Nov 2007]

          Serial Publication Year:
                             2007

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 24, Nov 2007. Created 2007; Pub. 2007-09-24. Reg.
                                2012-09-19; TX0007605116

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 11:16 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 111 of 152 PageID #:162

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007604938 / 2012-09-19

          Application Title: SONIC X

          Title:              SONIC X.   [Published: 2007-10-22.   Issue: no. 25, Dec 2007]

          Serial Publication Year:
                             2007

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 25, Dec 2007. Created 2007; Pub. 2007-10-22. Reg.
                                2012-09-19; TX0007604938

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 11:16 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 112 of 152 PageID #:163

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007604930 / 2012-09-19

          Application Title: SONIC X

          Title:              SONIC X.   [Published: 2007-11-07.   Issue: no. 26, Jan 2008]

          Serial Publication Year:
                             2007

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 26, Jan 2008. Created 2007; Pub. 2007-11-07. Reg.
                                2012-09-19; TX0007604930

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 11:17 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 113 of 152 PageID #:164

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007604928 / 2012-09-19

          Application Title: SONIC X

          Title:              SONIC X.   [Published: 2007-12-17.   Issue: no. 27, Feb 2008]

          Serial Publication Year:
                             2007

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 27, Feb 2008. Created 2007; Pub. 2007-12-17. Reg.
                                2012-09-19; TX0007604928

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 11:17 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 114 of 152 PageID #:165

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007604925 / 2012-09-19

          Application Title: SONIC X

          Title:              SONIC X.   [Published: 2008-01-14.   Issue: no. 28, Mar 2008]

          Serial Publication Year:
                             2008

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 28, Mar 2008. Created 2008; Pub. 2008-01-14. Reg.
                                2012-09-19; TX0007604925

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 11:18 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 115 of 152 PageID #:166

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007604921 / 2012-09-19

          Application Title: SONIC X

          Title:              SONIC X.   [Published: 2008-02-11.   Issue: no. 29, Mar 2008]

          Serial Publication Year:
                             2008

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 29, Mar 2008. Created 2008; Pub. 2008-02-11. Reg.
                                2012-09-19; TX0007604921

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 11:18 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 116 of 152 PageID #:167

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007604909 / 2012-09-24

          Application Title: SONIC X

          Title:              SONIC X. [Published: 2008-03-10.   Issue: no. 30,
                                 03/10/2008]

          Serial Publication Year:
                             2008

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 30, 03/10/2008. Created 2008; Pub. 2008-03-10. Reg.
                                2012-09-24; TX0007604909

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:19 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 117 of 152 PageID #:168

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007604907 / 2012-09-24

          Application Title: SONIC X

          Title:              SONIC X. [Published: 2008-03-26.   Issue: no. 31,
                                 03/26/2008]

          Serial Publication Year:
                             2008

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 31, 03/26/2008. Created 2008; Pub. 2008-03-26. Reg.
                                2012-09-24; TX0007604907

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:19 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 118 of 152 PageID #:169

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007604905 / 2012-09-24

          Application Title: SONIC X

          Title:              SONIC X. [Published: 2008-04-23.   Issue: no. 32,
                                 04/23/2008]

          Serial Publication Year:
                             2008

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 32, 04/23/2008. Created 2008; Pub. 2008-04-23. Reg.
                                2012-09-24; TX0007604905

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:20 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 119 of 152 PageID #:170

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007604904 / 2012-09-24

          Application Title: SONIC X

          Title:              SONIC X. [Published: 2008-05-28.   Issue: no. 33,
                                 05/28/2008]

          Serial Publication Year:
                             2008

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 33, 05/28/2008. Created 2008; Pub. 2008-05-28. Reg.
                                2012-09-24; TX0007604904

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:20 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 120 of 152 PageID #:171

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007604903 / 2012-09-24

          Application Title: SONIC X

          Title:              SONIC X. [Published: 2008-06-25.   Issue: no. 34,
                                 06/25/2008]

          Serial Publication Year:
                             2008

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 34, 06/25/2008. Created 2008; Pub. 2008-06-25. Reg.
                                2012-09-24; TX0007604903

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:20 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 121 of 152 PageID #:172

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007604877 / 2012-09-24

          Application Title: SONIC X

          Title:              SONIC X. [Published: 2008-07-23.   Issue: no. 35,
                                 07/23/2008]

          Serial Publication Year:
                             2008

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 35, 07/23/2008. Created 2008; Pub. 2008-07-23. Reg.
                                2012-09-24; TX0007604877

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:21 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 122 of 152 PageID #:173

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007604398 / 2012-09-24

          Application Title: SONIC X

          Title:              SONIC X. [Published: 2008-08-27.   Issue: no. 36,
                                 08/27/2008]

          Serial Publication Year:
                             2008

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 36, 08/27/2008. Created 2008; Pub. 2008-08-27. Reg.
                                2012-09-24; TX0007604398

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:22 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 123 of 152 PageID #:174

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007604138 / 2012-09-24

          Application Title: SONIC X

          Title:              SONIC X. [Published: 2008-09-24.   Issue: no. 37,
                                 09/24/2008]

          Serial Publication Year:
                             2008

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 37, 09/24/2008. Created 2008; Pub. 2008-09-24. Reg.
                                2012-09-24; TX0007604138

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:22 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 124 of 152 PageID #:175

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007604076 / 2012-09-24

          Application Title: SONIC X

          Title:              SONIC X. [Published: 2008-10-22.   Issue: no. 38,
                                 10/22/2008]

          Serial Publication Year:
                             2008

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 38, 10/22/2008. Created 2008; Pub. 2008-10-22. Reg.
                                2012-09-24; TX0007604076

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:23 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 125 of 152 PageID #:176

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007603702 / 2012-09-24

          Application Title: SONIC X

          Title:              SONIC X. [Published: 2008-11-26.   Issue: no. 39,
                                 11/26/2008]

          Serial Publication Year:
                             2008

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 39, 11/26/2008. Created 2008; Pub. 2008-11-26. Reg.
                                2012-09-24; TX0007603702

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:23 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 126 of 152 PageID #:177

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007602871 / 2012-09-24

          Application Title: SONIC X

          Title:              SONIC X.   [Published: 2008-12-24.   Issue: no. 40, 12/24/08]

          Serial Publication Year:
                             2008

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 40, 12/24/08. Created 2008; Pub. 2008-12-24. Reg.
                                2012-09-24; TX0007602871

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 11:24 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 127 of 152 PageID #:178

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007606123 / 2012-09-25

          Application Title: Sonic Quest: Death Egg Saga

          Title:              Sonic Quest: Death Egg Saga.   [Published: 1996-08-26.
                                 Issue: no. 1, Dec 1996]

          Serial Publication Year:
                             1996

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 1, Dec 1996. Created 1996; Pub. 1996-08-26. Reg.
                                2012-09-25; TX0007606123

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:24 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 128 of 152 PageID #:179

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007606123 / 2012-09-25

          Application Title: Sonic Quest: Death Egg Saga

          Title:              Sonic Quest: Death Egg Saga.   [Published: 1996-08-26.
                                 Issue: no. 1, Dec 1996]

          Serial Publication Year:
                             1996

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 1, Dec 1996. Created 1996; Pub. 1996-08-26. Reg.
                                2012-09-25; TX0007606123

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:25 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 129 of 152 PageID #:180

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007606128 / 2012-09-25

          Application Title: Sonic Quest: Death Egg Saga

          Title:              Sonic Quest: Death Egg Saga.   [Published: 1996-09-15.
                                 Issue: no. 2, Jan 1997]

          Serial Publication Year:
                             1996

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 2, Jan 1997. Created 1996; Pub. 1996-09-15. Reg.
                                2012-09-25; TX0007606128

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:25 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 130 of 152 PageID #:181

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007606137 / 2012-09-25

          Application Title: Sonic Quest: Death Egg Saga

          Title:              Sonic Quest: Death Egg Saga.   [Published: 1996-11-16.
                                 Issue: no. 3, Feb 1997]

          Serial Publication Year:
                             1996

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 3, Feb 1997. Created 1996; Pub. 1996-11-16. Reg.
                                2012-09-25; TX0007606137

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:26 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 131 of 152 PageID #:182

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007617975 / 2012-09-25

          Application Title: Sonic the Hedgehog Buddy "Tail's"

          Title:              Sonic the Hedgehog Buddy "Tail's".   [Published: 1995-08-17.
                                  Issue: no. 1, Dec 1995]

          Serial Publication Year:
                             1995

          Description:        Print material.

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 1, Dec 1995. Created 1995; Pub. 1995-08-17. Reg.
                                2012-09-25; TX0007617975

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:26 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 132 of 152 PageID #:183

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007617973 / 2012-09-25

          Application Title: Sonic the Hedgehog Buddy "Tail's"

          Title:              Sonic the Hedgehog Buddy "Tail's".   [Published: 1995-09-26.
                                  Issue: no. 2, Jan 1996]

          Serial Publication Year:
                             1995

          Description:        Print material.

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 2, Jan 1996. Created 1995; Pub. 1995-09-26. Reg.
                                2012-09-25; TX0007617973

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:27 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 133 of 152 PageID #:184

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007617970 / 2012-09-25

          Application Title: Sonic the Hedgehog Buddy "Tail's"

          Title:              Sonic the Hedgehog Buddy "Tail's".   [Published: 1995-10-31.
                                  Issue: no. 3, Feb 1996]

          Serial Publication Year:
                             1995

          Description:        Print material.

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 3, Feb 1996. Created 1995; Pub. 1995-10-31. Reg.
                                2012-09-25; TX0007617970

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:27 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 134 of 152 PageID #:185

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007609679 / 2012-09-25

          Application Title: Sonic the Hedgehog Presents "Princess Sally"

          Title:              Sonic the Hedgehog Presents "Princess Sally".   [Published:
                                 1995-04-12. Issue: no. 1, April, 1995]

          Serial Publication Year:
                             1995

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 1, April, 1995. Created 1995; Pub. 1995-04-12. Reg.
                                2012-09-25; TX0007609679

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:27 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 135 of 152 PageID #:186

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007609635 / 2012-09-25

          Application Title: Sonic the Hedgehog Presents "Princess Sally"

          Title:              Sonic the Hedgehog Presents "Princess Sally".   [Published:
                                 1995-05-23. Issue: no. 2, May 1995]

          Serial Publication Year:
                             1995

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 2, May 1995. Created 1995; Pub. 1995-05-23. Reg.
                                2012-09-25; TX0007609635

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:28 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 136 of 152 PageID #:187

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007609608 / 2012-09-25

          Application Title: Sonic the Hedgehog Presents "Princess Sally"

          Title:              Sonic the Hedgehog Presents "Princess Sally".   [Published:
                                 1995-06-25. Issue: no. 3, June 1995]

          Serial Publication Year:
                             1995

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 3, June 1995. Created 1995; Pub. 1995-06-25. Reg.
                                2012-09-25; TX0007609608

          Rights and Permissions:
                              Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:29 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 137 of 152 PageID #:188

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007606111 / 2012-10-08

          Application Title: Sonic & Knuckles "Mecha Madness    Special"

          Title:              Sonic & Knuckles "Mecha Madness Special".    [Published:
                                 1996-06-17. Issue: no. 1, 06/17/1996]

          Serial Publication Year:
                             1996

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 1, 06/17/1996. Created 1996; Pub. 1996-06-17. Reg.
                                2012-10-08; TX0007606111

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:30 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 138 of 152 PageID #:189

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007609228 / 2012-10-08

          Application Title: Sonic & Knuckles

          Title:              Sonic & Knuckles.   [Published: 1995-10-03.   Issue: no. 1,
                                 10/03/1995]

          Serial Publication Year:
                             1995

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 1, 10/03/1995. Created 1995; Pub. 1995-10-03. Reg.
                                2012-10-08; TX0007609228

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 11:30 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 139 of 152 PageID #:190

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007609248 / 2012-10-08

          Application Title: Sonic Adventures "Nights Into Dreams"

          Title:              Sonic Adventures "Nights Into Dreams". [Published:
                                 1997-01-20. Issue: no. 3, 1/20/1997]

          Serial Publication Year:
                             1997

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 3, 1/20/1997. Created 1997; Pub. 1997-01-20. Reg.
                                2012-10-08; TX0007609248

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 11:31 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 140 of 152 PageID #:191

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007609603 / 2012-10-08

          Application Title: Sonic Adventures "Nights Into Dreams"

          Title:              Sonic Adventures "Nights Into Dreams". [Published:
                                 1997-11-18. Issue: no. 1, Feb 1998]

          Serial Publication Year:
                             1997

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 1, Feb 1998. Created 1997; Pub. 1997-11-18. Reg.
                                2012-10-08; TX0007609603

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 11:31 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 141 of 152 PageID #:192

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007609483 / 2012-10-08

          Application Title: Sonic Adventures "Nights Into Dreams"

          Title:              Sonic Adventures "Nights Into Dreams". [Published:
                                 1997-12-16. Issue: no. 2, Mar 1998]

          Serial Publication Year:
                             1997

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 2, Mar 1998. Created 1997; Pub. 1997-12-16. Reg.
                                2012-10-08; TX0007609483

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 11:31 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 142 of 152 PageID #:193

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007609242 / 2012-10-08

          Application Title: Sonic Adventures "Nights Into Dreams"

          Title:              Sonic Adventures "Nights Into Dreams". [Published:
                                 1998-05-26. Issue: no. 4, Aug. 1998]

          Serial Publication Year:
                             1998

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 4, Aug. 1998. Created 1998; Pub. 1998-05-26. Reg.
                                2012-10-08; TX0007609242

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 11:32 AM
Firefox                                                                          https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 143 of 152 PageID #:194

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007609194 / 2012-10-08

          Application Title: Sonic Blast

          Title:              Sonic Blast. [Published: 1996-11-15.   Issue: no. 1,
                                 11/15/1996]

          Serial Publication Year:
                             1996

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 1, 11/15/1996. Created 1996; Pub. 1996-11-15. Reg.
                                2012-10-08; TX0007609194

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                    4/14/2023, 11:32 AM
Firefox                                                                             https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 144 of 152 PageID #:195

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007609230 / 2012-10-08

          Application Title: Sonic Live

          Title:              Sonic Live. [Published: 1996-09-17.   Issue: no. 1,
                                 09/17/1996]

          Serial Publication Year:
                             1996

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 1, 09/17/1996. Created 1996; Pub. 1996-09-17. Reg.
                                2012-10-08; TX0007609230

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                       4/14/2023, 11:33 AM
Firefox                                                                           https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 145 of 152 PageID #:196

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007609187 / 2012-10-08

          Application Title: Sonic the Hedgehog "In Your Face"

          Title:              Sonic the Hedgehog "In Your Face".   [Published: 1997-01-15.
                                  Issue: no. 1, 01/15/1997]

          Serial Publication Year:
                             1997

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 1, 01/15/1997. Created 1997; Pub. 1997-01-15. Reg.
                                2012-10-08; TX0007609187

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                     4/14/2023, 11:33 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 146 of 152 PageID #:197

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007609198 / 2012-10-08

          Application Title: Sonic Triple Trouble

          Title:              Sonic Triple Trouble.   [Published: 1995-06-28.   Issue: no.
                                 1, 06/28/1995]

          Serial Publication Year:
                             1995

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 1, 06/28/1995. Created 1995; Pub. 1995-06-28. Reg.
                                2012-10-08; TX0007609198

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 11:33 AM
Firefox                                                                            https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 147 of 152 PageID #:198

          Type of Work:       Serial

          Registration Number / Date:
                             TX0007609235 / 2012-10-08

          Application Title: Sonic vs. Knuckles

          Title:              Sonic vs. Knuckles.   [Published: 1995-04-17.   Issue: no. 1,
                                 04/17/1995]

          Serial Publication Year:
                             1995

          Frequency:          Monthly.

          Copyright Claimant:
                              SEGA OF AMERICA, INC., Transfer: By written agreement.

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Archie Comic Publications, Inc. (author of anonymous
                                contribution), employer for hire; Domicile: United
                                States; Citizenship: United States. Authorship:
                                compilation.

          Issues Registered: no. 1, 04/17/1995. Created 1995; Pub. 1995-04-17. Reg.
                                2012-10-08; TX0007609235

          Rights and Permissions:
                             Debbie Monserrate, Archie Comic Publications, Inc., 325
                                Fayette Ave, Mamaroneck, NY, 10543, United States, (914)
                                381-5155 xext211, debm@archiecomics.com

          Names:              Archie Comic Publications, Inc.
                              SEGA OF AMERICA, INC.

          ================================================================================




1 of 1                                                                                                      4/14/2023, 11:34 AM
Firefox                                                                         https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 148 of 152 PageID #:199

          Type of Work:       Dramatic Work and Music; or Choreography

          Registration Number / Date:
                             TX0008029049 / 2015-01-22

          Application Title: Sonic Boom.

          Title:              Sonic Boom.

          Description:        Electronic file (eService)

          Series:             Sonic Boom; No. 101-152; Volume Season 1

          Copyright Claimant:
                              Sega of America, Inc.

          Date of Creation:   2014

          Date of Publication:
                             2015-01-21

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Sega of America, Inc., employer for hire; Citizenship:
                                United States. Authorship: text.

          Names:              Sega of America, Inc.

          ================================================================================




1 of 1                                                                                                   4/14/2023, 11:34 AM
Firefox                                                                         https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 149 of 152 PageID #:200

          Type of Work:       Preregistration

          Type of Work Preregistered:
                             Motion Picture

          Preregistration Number / Date:
                             PRE000010948 / 2019-07-22

          Application Title: Sonic the Hedgehog

          Title:              Sonic the Hedgehog

          Copyright Claimant:
                              Paramount Pictures Corporation.
                              SEGA of America, Inc.

          Creation of Work Began:
                             2018-07 (Approximate)

          Date of Anticipated Completion:
                             2019-12 (Approximate)

          Projected Date of Publication:
                             2020-02-14 (Approximate)

          Authorship on Application:
                             Paramount Pictures Corporation.
                             SEGA of America, Inc.

          Description of Work:
                             Sonic the Hedgehog, a super-speedy blue alien, teams up
                                with a small-town cop to battle the forces of evil,
                                including a mad scientist who hopes to take over the
                                world ? and a lizard warrior who wants to steal Sonic?s
                                power and use it to conquer the universe. Starring Jim
                                Carrey, James Marsden and Ben Schwartz, and being
                                directed by Jeff Fowler.

          Names:              Paramount Pictures Corporation
                              SEGA of America, Inc.

          ================================================================================




1 of 1                                                                                                   4/14/2023, 11:35 AM
Firefox                                                                         https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 150 of 152 PageID #:201

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0002228951 / 2020-02-18

          Application Title: Sonic the Hedgehog.

          Title:              Sonic the Hedgehog.

          Description:        Videocassette (HDcam SR)

          Copyright Claimant:
                              Paramount Pictures Corporation.
                              SEGA of America, Inc.

          Date of Creation:   2020

          Date of Publication:
                             2020-02-14

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Paramount Pictures Corporation, employer for hire;
                                Domicile: United States. Authorship: entire motion
                                picture.
                             SEGA of America, Inc., employer for hire; Domicile: United
                                States. Authorship: entire motion picture.

          Preregistered as:   PRE000010948

          Pre-existing Material:
                             preexisting music.

          Basis of Claim:     all other cinematographic material.

          Names:              Fowler, Jeff
                              Paramount Pictures Corporation
                              SEGA of America, Inc.

          ================================================================================




1 of 1                                                                                                   4/14/2023, 11:35 AM
Firefox                                                                         https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 151 of 152 PageID #:202

          Type of Work:       Preregistration

          Type of Work Preregistered:
                             Motion Picture

          Preregistration Number / Date:
                             PRE000011798 / 2021-04-09

          Application Title: Sonic the Hedgehog 2

          Title:              Sonic the Hedgehog 2

          Copyright Claimant:
                              Paramount Pictures Corporation.
                              SEGA of America, Inc.

          Creation of Work Began:
                             2021-03-15 (Approximate)

          Date of Anticipated Completion:
                             2022-02 (Approximate)

          Projected Date of Publication:
                             2022- (Approximate)

          Authorship on Application:
                             Paramount Pictures Corporation.
                             SEGA of America, Inc.

          Description of Work:
                             After settling in Green Hills, Sonic is ready for more
                                freedom, and Tom and Maddie agree to leave him home
                                while they go on vacation. But, no sooner are they gone,
                                when Dr. Robotnik comes back, this time with a new
                                partner, Knuckles, in search for an emerald that has the
                                power to both build and destroy civilizations. Sonic
                                teams up with his own sidekick, Tails, and together they
                                embark on a journey to find the emerald before it falls
                                into the wrong hands. Being directed by Jeff Fowler,
                                and starring Jim Carrey, James Marsden, and Ben
                                Schwartz.

          Names:              Paramount Pictures Corporation
                              SEGA of America, Inc.

          ================================================================================




1 of 1                                                                                                   4/14/2023, 11:35 AM
Firefox                                                                         https://cocatalog.loc.gov/cgi-bin/Pwebrecon.cgi
                   Case: 1:24-cv-05162 Document #: 1-1 Filed: 06/20/24 Page 152 of 152 PageID #:203

          Type of Work:       Motion Picture

          Registration Number / Date:
                             PA0002344266 / 2022-04-08

          Application Title: Sonic the Hedgehog 2.

          Title:              Sonic the Hedgehog 2.

          Description:        Videocassette (HDCam SR) ; 1/2 in.

          Copyright Claimant:
                              Paramount Pictures Corporation.
                              SEGA of America, Inc.

          Date of Creation:   2022

          Date of Publication:
                             2022-04-08

          Nation of First Publication:
                             United States

          Authorship on Application:
                             Paramount Pictures Corporation, employer for hire;
                                Domicile: United States. Authorship: entire motion
                                picture.
                             SEGA of America, Inc., employer for hire; Domicile: United
                                States. Authorship: entire motion picture.

          Preregistered as:   PRE000011798

          Pre-existing Material:
                             preexisting music, based on the SEGA Video Game.

          Basis of Claim:     all other cinematographic material.

          Copyright Note:     C.O. correspondence.

          Names:              Fowler, Jeff
                              Paramount Pictures Corporation
                              SEGA of America, Inc.

          ================================================================================




1 of 1                                                                                                   4/14/2023, 11:36 AM
